
Nott, County Judge.
At the June term of the court, in 1883, the defendants, Harrington and Messer, were indicted for the crime of burglary in the second, degree, and upon their arraignment each entered a plea of guilty. After their pleas, this court, County Judge Yah Alstyhe presiding, suspended sentence, and each was discharged from custody. In November, 1884, the defendants were committed to jail by one of the police justices of this city, charged with another crime. The district attorney on December 5, 1884, *162caused defendants to be brought into this court, and moved that each be sentenced under his plea of guilty entered at the J une, 1883, term of this court.
■ The defendants, through their counsel, G. R. Hitt, object thereto, urging various grounds. At the time the plea was entered both defendants were under sixteen, years of age, Harrison is still under sixteen, but Messer is now over that age.
In the case of the People v. Morrisette (20 How. Pr. 118) the court of oyer and terminer refused to suspend sentence, holding that no suspension of sentence or stay is authorized except upon a certiorari or writ of error, on application in arrest of judgment, or for a new trial, but this ruling is contrary to the current of cases in this country, and the precise point has been recently determined in the fourth department of the supreme court in People v. Graves (2 N. Y. Crim. Rep. 123,127), where Hardin, J., says : “We regard the essentia] question in this case so firmly resolved against the appellant by the authorities that we do not deem it useful to open the question for fresh investigation and adjudication.” It is just and proper that the power to suspend sentence should exist in the superior criminal courts. Great harm might otherwise flow to society in the destruction of the means of those charged with the administration of criminal justice to expose through this aid dangerous conspiracies against person and property. “■ It would seem,” says Dixojst, J.,'“ that it is stating the matter too broadly to assert that it is always the imperative duty of a court to render judgment on a conviction of crime ; unless some" legal proceeding, for review be interposed, considerations of public policy may induce the court to stay its" hand” (State v. Addy, 43 N. J. L. (14 Vroom) 113 ; 39 Am. Rep. 546). In the case of Harrington the clemency of this court seems to have had no salutary effect upon him. We find him again in the custody of the law, *163charged with crime, and our duty is to impose sentence on him, which is that he be confined to the House of Refuge during the pleasure of the managers (Park v. People, 1 Lans. 263). In Messer’s case a different question is presented. In his case, at the time of his plea of guilty, he was one of that class of criminals recognized as juvenile delinquents, and the sentence of the court might and probably would have been to the House of Refuge, where his mind would have been properly trained and means taken to reform and educate him, and although but for the Code of Civil Procedure (§ 832) he would be disqualified as a witness (People v. Park, 41 N. Y. 21), yet his right to vote at any election when arriving of age would not be taken away {Penal Code, § 711). He is now over the age of sixteen years, and if sentenced he must be imprisoned “in a State prison not more than ten years, nor less than five years” {Penal Code, § 507), or to the Elmira Reformatory, wherefrom he may be transferred to a State prison.
A sentence now under the plea of guilty would be adding an additional penalty to that which might and probably would have been suffered if sentenced at the time he entered his plea, that of disfranchisement. It is an elementary rule that any law that changes the punishment and inflicts a greater pnnishment than the law annexed to the crime when committed, is void (Calder v. Bull, 3 Dall. 386-390), and the rule is the same when the law is changed after conviction (Hartung v. People, 22 N. Y. 95). The humanity of our law, and the genius of our Constitution require that no severer penalty should be imposed on a criminal than that wdiich existed when the offense was committed or a conviction had. In State v. Addy, 43 N. J. L. (14 Vroom) 113, it was held, on a conviction of maintaining a nuisance, the court having suspended sentence on payment of costs, so long as the defendant *164should abate the nuisance, that a sentence of imprisonment at a subsequent time was void.
The charity of a court should not be allowed to work an injustice to a defendant. Independent of the question of disfranchisement, there is such a marked difference between the methods and prison discipline of the House of Refuge and a State prison that it is apparent a sentence now of Messer to a State prison would be harder and more severe than if sentenced over a year ago, when the plea was entered. Entertaining these views, the court declines to sentence Messer on his plea of guilty, and remands him into the custody of the sheriff under the later criminal charge, - upon which he was committed to jail, to be proceeded against as the law directs.
